               Case 18-22930-LMI          Doc 76    Filed 02/01/19   Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov
 IN RE:                                         CASE NO.: 18-22930-LMI

 MARIELA C. ROMAN                                      Chapter 7

        Debtor./

  TRUSTEE'S RESPONSE TO CREDITOR’S MOTION FOR RELIEF FROM THE
AUTOMATIC STAY RE: 234 NORTHEAST 3RD STREET, UNIT 1107, MIAMI FL 33132

       Ross R. Hartog, the chapter 7 trustee (the "Trustee") for the estate of Mariela C. Roman

(the "Debtor"), through undersigned counsel, hereby responds (the “Response”) to Nationstar

Mortgage LLC’s d/b/a Mr. Cooper (the “Creditor”), Motion for Relief from the Automatic Stay

Re: 234 Northeast 3rd Street, Unit 1107, Miami, FL 33132 (the “Stay Relief Motion”) [ECF No.

50]. In support of the Response, the Trustee states as follows:

       1.      On November 8, 2018, the Debtor filed a voluntary chapter 7 bankruptcy petition

commencing this case.

       2.      Ross R. Hartog was appointed as the Chapter 7 trustee.

       3.      On January 4, 2019, the Creditor filed its Stay Relief Motion seeking to initiate a

foreclosure proceeding of the Debtor’s real property located at 234 Northeast 3rd Street, Unit

1107, Miami, FL 33132, legally known as:

               Condominium Unit No. 1107 in THE LOFT DOWNTOWN
               CONDOMINIUM, according to the Declaration thereof, recorded
               November 23, 2005 under Clerk’s File No. 2005R1220174 in Official
               Records Book 23989, Page 1281, of the Public Records of Miami-Dade
               County, Florida, as amended and/or supplemented from time to time.

               FOLIO 01-4137-051-1400
               (the “Real Property”).

       4.      The Debtor claimed three real properties, including the Real Property, exempt on

her schedules under 11 U.S.C. § 552(o).
                  Case 18-22930-LMI             Doc 76       Filed 02/01/19        Page 2 of 3



         5.       Upon information and belief, the Real Property is encumbered by one mortgage

exceeding a little over $200,000.00. Upon information and belief, the Real Property has a

market value of around $320,000.00.

         6.       The Trustee asserts that the Estate may have an interest in the Real Property and

that the Real Property may be a good candidate for traditional sale.1

         7.       A traditional sale of the Real Property would prove beneficial to the Estate and

provide equity for creditors.

         8.       Based on the foregoing, the Trustee requests that the Stay Relief Motion be

denied as a traditional sale of the Real Property may be a viable option to provide a distribution

to creditors.

         WHEREFORE, the Trustee respectfully requests that this Court deny the Stay Relief

Motion and allow for such other and further relief as the court deems just and proper.

                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on all
counsel of record or pro se parties identified on the attached Service List via U.S. Mail and/or
the Court’s CM/ECF notification to those parties who are registered CM/ECF participants in this
case February 1, 2019.
Dated: February 1, 2019                      Respectfully Submitted,

                                             Markowitz Ringel Trusty & Hartog, P.A.
                                             Counsel to Chapter 7 Trustee
                                             9130 South Dadeland Boulevard, Suite 1800
                                             Miami, Florida 33156
                                             Tel. (305) 670-5000
                                             Fax. (305) 670-5011

                                             By: /s/ John H. Lee
                                                  John H. Lee, Esq.
                                                  Florida Bar No. 91795
                                                   jlee@mrthlaw.com

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  The Trustee will be filing an objection to the Debtor’s claim of exemption on the Real Property at the same time of
the filing of this Motion.
                Case 18-22930-LMI          Doc 76      Filed 02/01/19    Page 3 of 3



                                       In re: Mariella C. Roman
                                        Case No. 18-22930-LMI
                                              Service List

18-22930-LMI Notice will be electronically mailed to:

Jeffrey S. Berlowitz on behalf of Creditor Chestnut Woods Homeowners Association, Inc.
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John H Lee on behalf of Trustee Ross R Hartog
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Nicole M Noel on behalf of Creditor Select Portfolio Servicing, Inc.
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Steven G. Powrozek, Esq. on behalf of Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper
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Marlene Rodriguez on behalf of Creditor United States of America
marlene.rodriguez@usdoj.gov, Shannon.patterson@usdoj.gov;Milton.pacheco@usdoj.gov

Christopher P Salamone on behalf of Creditor U.S. Bank National Association, as Trustee for Residential
Funding Mortgage Securities I, Inc., Mortgage Pass-Through Certificates, Series 2007-S7
csalamone@rasflaw.com, csalamone@rasflaw.com

18-22930-LMI Notice will be mailed to:

Mariela C. Roman, Pro Se Debtor
Federal Correctional Complex
Coleman Prison Camp
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Coleman, FL 33521

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PO Box 41021
Norfolk, VA 23541

American Express National Bank
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